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 ATTORNEY(S) FOR: Defendants MARYELLIS BUNN and 1AND8
 INC. dba MUSEUM OF ICE CREAM
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
PRETTY IN PLASTIC, INC.                                                       2:18-cv-06091-GW-SK
                                                              Plaintiff(s),
                                     v.

MARYELLIS BUNN, et al.,                                                                      CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)


TO:      THE COURT AND ALL PARTIES OF RECORD:
                                           Defendants MARYELLIS BUNN and 1AND8 INC. dba Museum of
The undersigned, counsel of record for Ice Cream.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                   PARTY                                                             CONNECTION / INTEREST
1AND8 INC. dba MUSEUM OF ICE CREAM.                                                  Defendant
MARYELLIS BUNN                                                                       Defendant, Founder of 1AND8 INC.
MANISH VORA                                                                          Founder of 1AND8 INC.




         October 11, 2018                                  /s/ Carlo F. Van den Bosch
         Date                                              Signature
                                                           Carlo F. Van den Bosch

                                                           Attorney of record for (or name of party appearing in pro per):
                                                           Defendants MARYELLIS BUNN and 1AND8 INC. dba
                                                           MUSEUM OF ICE CREAM

CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
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